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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS


                                                )
In re:                                          )       Chapter 7
                                                )       Case No. 23-40709-CJP
WESTBOROUGH SPE LLC,                            )
                                                )
                                 Debtor.        )
                                                )

         OBJECTION OF PETITIONING CREDITORS TO TOWN OF WESTBOROUGH’S
              MOTION TO DISMISS BANKRUPTCY CASE [DOCKET NO. 69]

To The Honorable Christopher J. Panos, United States Bankruptcy Judge:

          Now come the Petitioning Creditors herein, by and through their counsel, and state the

following in opposition to the Town of Westborough’s (the “Town”) Motion to Dismiss

Bankruptcy Case (the “Motion to Dismiss”):

          1.     Contrary to the view of the Town, this case is not all about it. The Petitioning

Creditors filed the Involuntary Petition against the Debtor to provide for the preservation and

collection of the multiple assets of the Debtor into a bankruptcy estate pursuant to §541 of the

Bankruptcy Code so that those assets can be used to satisfy the claims of creditors of the Debtor.

          2.     The assets of the Debtor include, at least, the following:

                 a.     Funds of the Debtor escheated to the State of California and refundable to

                        the bankruptcy estate in the sum of approximately $1.3 Million; and

                 b.     Real estate in the Town encumbered only by the Town’s unpaid taxes the

                        value of which real estate exceeds the Town’s tax lien by more than $1

                        Million; and

                 c.     Claims against the Town and others.




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       3.       The Town now (belatedly; see below) seeks dismissal of this case on the grounds

that the Involuntary Petition was filed in bad faith.

       4.       The Town’s case for dismissal is nothing more than an exercise in forum

shopping. The Town makes it clear that it wants this case dismissed so that it may pursue its

rights with respect to the Debtor’s real estate in the Massachusetts Land Court and, in its own

obvious exercise of selfish bad faith, wants the unsecured creditors (the Town by its own

admission is over-secured by the real estate upon which it holds a first lien) to be deprived of the

opportunity to realize upon the remaining assets of the Debtor (which are hardly insubstantial;

the Trustee has reported to this Court that the California State Controller has agreed to send the

Trustee the bankruptcy estate’s funds of $1,293,646.83).

       5.       Clearly, the Chapter 7 Trustee has taken hold of the bankruptcy estate created

upon the entry of the Order for Relief and dismissal of this case will cause extreme harm to all

creditors (other than the Town), all because the Town prefers to adjudicate issues with respect to

the Debtor’s real estate in the Massachusetts Land Court and (irrelevantly) takes great umbrage

at the timing of the filing of the Involuntary Petition commencing this case.

       6.       The late Judge William C. Hillman of this Court often said, from the bench, that

there were two complaints from counsel that he wished never to hear again:

                       First, that the debtor filed its petition the day before a
                       scheduled foreclosure sale; and
                       Second, that the bank filed its motion for relief from stay
                       the day after the filing of the petition.

Judge Hillman observed that both were entitled to take the actions they had taken and the

proximity of those actions to events precipitating them had no legal significance. That principal

applies here.




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       7.      The Town admits that there is no First Circuit precedent providing for the relief it

seeks. And, based upon the case law cited by the Town, none of the courts that have permitted

bad faith dismissals would do so on the facts presented here:

               a.     In In re: Huckfeldt, 39 F.3d. 829 (8th Cir. 1994) the court was presented

                      with a debtor who “… filed a Chapter 7 petition to frustrate the divorce

                      decree and to push his ex-wife into bankruptcy. He then manipulated his

                      immediate earnings to ensure that the Chapter 7 proceeding would achieve

                      these non-economic motives.” (Huckfeldt, pg. 832). The Huckfeldt case

                      bears no relation, and has no applicability, to the instant bankruptcy case

                      where the only motivation of the Petitioning Creditors was, and remains,

                      an economic, appropriate and legitimate goal (i.e. recovery of the amounts

                      owed to creditors). Huckfeldt counseled a cautious approach and a narrow

                      view of the availability of alleged bad faith to result in the dismissal of a

                      bankruptcy case. This case is not, under Huckfeldt, a candidate for bad

                      faith dismissal.

               b.     In Krueger v. Torres, 812 F.3d. 365 (5th Cir. 2016) (a case which cited

                      Huckfeldt) the 5th Circuit affirmed a bad faith dismissal of a debtor’s

                      voluntary petition finding “… the record is replete with evidence that

                      Krueger filed bankruptcy for illegitimate purposes, misled the court and

                      other parties, and engaged in bare-knuckle litigation practices, including

                      lying under oath and threatening witnesses.” (Krueger, pg 374). The

                      Krueger court found that “Krueger filed chapter 7 because of a criminal

                      contempt proceeding pending against him, because his state court




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                      litigation had taken a turn for the worse, and to provide him the cover to

                      retake control of [a corporation in which he had an interest]. These ‘non-

                      economic motives’ are ‘unworthy of bankruptcy protection’” and, “[o]nce

                      his chapter 7 case commenced, Krueger engaged in conduct designed to

                      manipulate the proceedings to his own ends.” No such egregious facts are

                      alleged by the Town (however annoyed the Town may be by the, in this

                      context, irrelevant, filings and communications of Lolonyon Akouete).

              c.      The facts of In re: MacFarlane Webster Associates, 121 B.R. 694 (Bankr.

                      S.D.N.Y. 1990) are likewise totally inapposite to the facts of this case. In

                      MacFarlane, the only asset of the estate was a claim to avoid a prepetition

                      foreclosure by a senior mortgagee and only the junior mortgagee stood to

                      benefit from overturning the foreclosure (a foreclosure to which the junior

                      mortgagee had consented prepetition). What the court dismissed was the

                      second mortgagee’s one creditor involuntary chapter 7 petition. Here,

                      distinguishing facts from MacFarlane include the fact that there are assets

                      available to satisfy all creditors, not just the Petitioning Creditors (at least

                      seven Proofs of Claim have been filed), the Petitioning Creditors did not

                      consent to anything pre-petition and dividends will flow in accordance

                      with the Bankruptcy Code to multiple claimants beyond the Petitioning

                      Creditors.

       8.     This Court’s view of the Town’s Motion to Dismiss should be informed by the

Town’s inexcusable delay in filing its Motion to Dismiss and the need for finality in bankruptcy

cases. The Involuntary Petition commencing this case was filed on August 31, 2023. The Town




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was notified of the filing of the Involuntary Petition on that very day. Counsel for the Town

entered an appearance herein on October 4, 2023 and, on that date, filed a Motion for Relief from

Stay. The Order for Relief was not entered until October 11, 2023 [Docket No. 26]. At no time

between August 31, 2023 and October 11, 2023 did the Town challenge the allegations of the

Involuntary Petition or move to dismiss this case. All of the facts cited by the Town purportedly

in support of dismissal were known to the Town before the Order for Relief entered. The obvious

conclusion from the Town’s delay in filing its Motion to Dismiss is that it was not at all

concerned with the alleged “bad faith” of the bankruptcy filing but, rather, wanted to pursue its

rights in its forum of choice, the Massachusetts Land Court, unfettered by the existence of this

bankruptcy case. Only after its Motion for Relief from Stay was not allowed and faced with the

Chapter 7 Trustee’s announced intention to remove the Massachusetts Land Court case to this

Court, did the Town decide to seek its forum-shopping goal through the means of a belated

Motion to Dismiss. 1  0F




        9.       In determining that the Town has lost the right to contest the Order for Relief

entered herein on October 11, 2023 and to challenge the finality of the Order for Relief, this

Court should look to the United States Supreme Court’s decision in Bullard v. Blue Hills Bank,

575 U.S. 496 (2015) where the Supreme Court described the difference of finality in ordinary

civil litigation and in bankruptcy:

                           In ordinary civil litigation, a case in federal district
                           court culminates in a “final decisio[n],” 28 U. S. C.
                           §1291, a ruling “by which a district court
                           disassociates itself from a case,” Swint v. Chambers
                           County Comm’n, 514 U. S. 35, 42 (1995) . A party
                           can typically appeal as of right only from that final
                           decision. This rule reflects the conclusion that
                           “[p]ermitting piecemeal, prejudgment appeals . . .

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 The Town’s third forum shopping strategy occurred this very day with the Town’s filing of a Motion to Remand to
(of course) the Massachusetts Land Court.


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                       undermines ‘efficient judicial administration’ and
                       encroaches upon the prerogatives of district court
                       judges, who play a ‘special role’ in managing
                       ongoing litigation.” Mohawk Industries, Inc. v.
                       Carpenter, 558 U. S. 100, 106 (2009) (quoting
                       Firestone Tire & Rubber Co. v. Risjord, 449 U. S.
                       368, 374 (1981) ).

                       The rules are different in bankruptcy. A bankruptcy
                       case involves “an aggregation of individual
                       controversies,” many of which would exist as stand-
                       alone lawsuits but for the bankrupt status of the
                       debtor. 1 Collier on Bankruptcy ¶5.08[1][b], p. 5–
                       42 (16th ed. 2014). Accordingly, “Congress has
                       long provided that orders in bankruptcy cases may
                       be immediately appealed if they finally dispose of
                       discrete disputes within the larger case.” Howard
                       Delivery Service, Inc. v. Zurich American Ins. Co.,
                       547 U. S. 651, 657, n. 3 (2006) (internal quotation
                       marks and emphasis omitted). The current
                       bankruptcy appeals statute reflects this approach: It
                       authorizes appeals as of right not only from final
                       judgments in cases but from “final judgments,
                       orders, and decrees . . . in cases and proceedings.”
                       §158(a).

The filing of an involuntary Petition, issuance of a summons and, after expiration of the time to

respond to the summons contesting the allegations of the involuntary petition, the entry of an

order for relief finally disposes of that “discrete dispute” within the larger case. The Town,

disappointed in the results of its prior litigation strategies in this Court, should not now be

permitted to end what is already an enormously effective Chapter 7 administration and

realization on the assets of this Bankruptcy Estate by obtaining its real forum shopping goal

through a dismissal which would disadvantage all creditors of this Debtor and where the

continuation of the instant bankruptcy case will do no harm to the Town as an over-secured

creditor, other than potentially deprive it of the adjudication of its claims in its preferred venue.




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          Wherefore, the Petitioning Creditors herein pray that this Court deny the Town’s Motion

to Dismiss.

                                                                       PETITIONING CREDITORS,

                                                                       By their attorneys,

                                                                       /s/ Stephen F. Gordon
                                                                       Stephen F. Gordon (BBO No. 203600)
                                                                       The Gordon Law Firm LLP
                                                                       57 River Place, Suite 200
                                                                       Wellesley, Massachusetts 02481
                                                                       Tel: (617) 261-0100
Dated: February 7, 2024                                                E-mail: sgordon@gordonfirm.com

                                             CERTIFICATE OF SERVICE

        I, Stephen F. Gordon, hereby certify that on February 7, 2024, the foregoing Objection
of Petitioning Creditors to Town of Westborough’s Motion to Dismiss Bankruptcy Case
was served by operation of the Court’s ECF System on all individuals designated to receive
service by ECF:

     •    Jeffrey T Blake jblake@k-plaw.com
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and by email upon:

Lolonyon Akouete (info@smartinvestorsllc.com)

                                                                       /s/ Stephen F. Gordon
                                                                       Stephen F. Gordon (BBO No. 203600)
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